Case 2:05-cr-20030-.]PI\/| Document 95 Filed 08/29/05 Page 1 of 3 Page|D 116

IN THE UNITED sTATEs DISTRICT COUHI.'E.>BY__. ________n,c.
FOR THE wESTERN DISTRICT oF TENNESSEE

WESTERN DIVISION 05 AUG 29 AH 63 h‘?'

m M. ~';)um
mem us. widow

UNITED STATES OF AMERICA WD OF TN MEM

Piaintiff,
criminal Nc>. OI‘ -Qw-'?a Ml

(30-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I`IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. September 23, 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

Thls document entered on the docket shea in ccmpli nce
With Ru\e 55 and/or 32{b) FRCrP on g BZQS

 

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So oRDERED this 26th day of August, 2005.

9 mm

JON HIPPS MCCALLA
UNI ED STA'I'ES DISTRICT JUDGE

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Assistant United States Attorney

 

 

 

Counsel for Defendant(s)

ISTRICT COURT - WESRTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 95 in
case 2:05-CR-20030 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

